Case 3:18-cv-00162-GMG Document 45 Filed 05/13/19 Page 1of1 PagelD #: 322

IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF WEST VIRGINIA

S.L., A MINOR, BY AND THROUGH
HER PARENT AND LEGAL GUARDIAN D.L.

Plaintiff,

Y. CIVIL ACTION NO. 3:18-CV-162
(Groh)

CITY HOSPITAL, INC, d/b/a BERKELEY MEDICAL CENTER,
A subsidiary of WEST VIRGINIA UNIVERSITY
HOSPITALS-EAST, INC., d/b/a

WV UNIVERSITY HEALTHCARE,

Defendant.
CERTIFICATE OF SERVICE

I, Joshua K. Boggs, do hereby certify that ] have electronically filed and caused to be served
this 13" day of May, 2019, the foregoing “DEFENDANT CITY HOSPITAL, INC. d/b/a
BERKELEY MEDICAL CENTER, A subsidiary of WEST VIRGINIA UNIVERSITY
HOSPITALS-EAST, INC., d/b/a WV UNIVERSITY HEALTHCARE’S INITIAL
DISCLOSURES,” via the United States Northern District Court for the Northern District of West
Virginia’s CM/ECF:

Shawna White
Disability Rights of West Virginia
1207 Quarrier Street
Charleston, WV 25301

&

Samantha Crane
Autistic Self Advocacy Network
1010 Vermont Avenue, Suite 618

Washington, DC 20005
Counsel for Plaintiff

/s/ Joshua Boggs
Joshua K. Boggs (W. Va. State Bar No. 10096)

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